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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                     )
In re:                               )
                                     )                                      Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,   )
                                     )                                      Case No. 19-34054 (SGJ)
            Reorganized Debtor.      )
                                     )
                                     )
HIGHLAND CAPITAL MANAGEMENT, L.P.    )
                                     )
                 Plaintiff,          )
vs.                                  )                                      Adv. Pro. No. 21-03003 (SGJ)
                                     )
JAMES D. DONDERO, NANCY DONDERO, AND )
THE DUGABOY INVESTMENT TRUST,        )
                                     )
                 Defendants.         )
                                     )

                                      CERTIFICATE OF SERVICE

        I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.
        On October 21, 2022, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A:

       Highland Capital Management, L.P.’s Reply in Further Support of its Motion for
        Leave to Supplement Backup Documentation in Support of Proposed Judgment
        [Docket No. 211]

Dated: October 25, 2022
                                                     /s/ Aljaira Duarte
                                                     Aljaira Duarte
                                                     KCC
                                                     222 N Pacífic Coast Highway, Suite 300
                                                     El Segundo, CA 90245


1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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                               EXHIBIT A
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                                                                   A
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                                                        Adversary Service List
                                                       Served via Electronic Mail


              Description                   CreditorName               CreditorNoticeName                          Email
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 Financial Advisor to Official Committee
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                                                                                                 ddraper@hellerdraper.com;
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 Highland Litigation Sub-Trust           Sidley Austin LLP         Chandler M. Rognes            crognes@sidley.com
 Counsel for James Dondero, Nancy
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 Management Services, Inc. and HCRE
 Partners, LLC (n/k/a NexPoint Real                                Deborah Deitsch-Perez,           deborah.deitschperez@stinson.com;
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